272 F.2d 946
    Hortense HUDSON et al., Appellants,v.JOHN W. THOMAS COMPANY, a corporation, Debtor.
    No. 16379.
    United States Court of Appeals Eighth Circuit.
    November 24, 1959.
    
      Appeal from the United States District Court for the District of Minnesota.
      Joseph L. Nathanson, Minneapolis, Minn., for appellant.
      M. Arnold Lyons and Charles H. Halpern, Minneapolis, Minn., for appellee.
      PER CURIAM.
    
    
      1
      Appeal from District Court docketed and dismissed for want of prosecution, at costs of appellants, on motion of appellee.
    
    